

Matter of Weckstein (2024 NY Slip Op 05865)





Matter of Weckstein


2024 NY Slip Op 05865


Decided on November 21, 2024


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:November 21, 2024

PM-229-24
[*1]In the Matter of Kenneth B. Weckstein, an Attorney. (Attorney Registration No. 2219384.)

Calendar Date:November 18, 2024

Before:Egan Jr., J.P., Pritzker, Reynolds Fitzgerald, Ceresia and Powers, JJ.

Kenneth B. Weckstein, Oxon Hill, Maryland, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Kenneth B. Weckstein was admitted to practice by this Court in 1988 and lists a business address in Washington, DC with the Office of Court Administration. Weckstein now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Weckstein's application.
Upon reading Weckstein's affidavit sworn to September 12, 2024 and filed September 16, 2024, and upon reading the November 15, 2024 correspondence in response by the Deputy Chief Attorney for AGC, and having determined that Weckstein is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Egan Jr., J.P., Pritzker, Reynolds Fitzgerald, Ceresia and Powers, JJ., concur.
ORDERED that Kenneth B. Weckstein's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Kenneth B. Weckstein's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Kenneth B. Weckstein is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Weckstein is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Kenneth B. Weckstein shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








